                                          Case 4:23-cv-04627-HSG Document 11 Filed 12/06/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        PATRICIA SQUITIERO,
                                   7                                                          Case No. 23-cv-04627-HSG
                                                        Plaintiff,
                                   8
                                                 v.                                           CONDITIONAL ORDER OF
                                   9                                                          DISMISSAL
                                        LABCORP EARLY DEVELOPMENT
                                  10    LABORATORIES INC, et al.,                             Re: Dkt. No. 10
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                               The Court having been advised that the parties have agreed to a settlement of this case,
                                  13

                                  14           IT IS HEREBY ORDERED that this case be dismissed with prejudice; provided, however,

                                  15   that if any party hereto shall certify to this Court, with proof of service of a copy thereon on

                                  16   opposing counsel, within 45 days from the date hereof, that the agreed consideration for said
                                  17   settlement has not been delivered over, the foregoing Order shall stand vacated and this case shall
                                  18
                                       forthwith be restored to the calendar to be set for trial.
                                  19

                                  20   Dated: December 6, 2023

                                  21

                                  22                                                                  ________________________
                                                                                                      HAYWOOD S. GILLIAM, JR.
                                  23                                                                  United States District Judge
                                  24

                                  25

                                  26
                                  27

                                  28
